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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

 

UNITED STATES OF AMERICA CRIMINAL COMPLAINT
v. Case No. 3:20-mj- {140 -J - {RR
TRAVIS RYAN PRITCHARD

I, the undersigned complainant, being duly swom, state the following is true and
correct to the best of my knowledge and belief. Between in or about December 2019, and
on or about May 2, 2020, in the Middle District of Florida, and elsewhere, the
defendant, TRAVIS RYAN PRITCHARD,

did knowingly persuade, induce, entice, and coerce and attempt to persuade,
induce, entice, and coerce a person who not reached the age of 18 years to
engage in sexual activity for which a person can be charged with a criminal
offense under the laws of the state of Florida, that is, the crime of lewd or
lascivious battery upon a person 12 years of age or older but less than 16
years of age, in violation of Section 800.04(4)(a), Florida Statutes,

all in violation of 18 U.S.C. § 2422(b). I further state that I am a Special Agent with
Homeland Security Investigations, and that this Complaint is based on the following
facts:

SEE ATTACHED AFFIDAVIT |

Continued on the attached sheet and made a part hereof: Yes O

 

 

Signature OE Coknplginant
BENJAMIN $-ZUEDKE

Sworn to before me over the telephone and signed
by me pursuant to Fed.R.Crim. P. 4.1 and 4(d)

on May li. 2020 at

JAMES R. KLINDT > (\ ~ R =K Dut
United States Magistrate Judge 7 eer TN = \
Name & Title of Judicial Officer c) of Judicial Officer 7

 
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AFFIDAVIT

I, Benjamin J. Luedke, being duly sworn, state as follows:

1. Iam a Special Agent (SA) with Homeland Security Investigations (HSI),
the investigative arm of Immigration and Customs Enforcement (ICE), formerly
known as the United States Customs Service. I have been assigned to the Office of the
Assistant Special Agent in Charge, Jacksonville, Florida since August 2007. Prior to
that, I was assigned to the Blaine, Washington office, beginning in July of 2002. Iam
a law enforcement officer of the United States and am thus authorized by law to engage
in or supervise the prevention, detection, investigation or prosecution of violations of
federal criminal law. I am responsible for enforcing federal criminal statutes under the
jurisdiction of HSI, including violations of law involving the exploitation of children.
I have attended the Basic Criminal Investigator School and the United States
Immigration and Customs Enforcement Academy at the Federal Law Enforcement
Training Center in Brunswick, Georgia, and I have received training in the area of
Customs laws. In my capacity as a Special Agent, I have participated in numerous
types of investigations, during the course of which I have conducted or participated in
physical surveillance, undercover transactions and _ operations, historical
investigations, extradition cases and other complex investigations. Prior to my
employment with HSI, I worked as a federal police officer with the U.S. Capitol Police
from June 2000 to March 2002. Since becoming a Special Agent, I have worked with

experienced Special Agents and state and local law enforcement officers who also

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investigate child exploitation offenses.

2. I have investigated and assisted in the investigation of criminal matters
involving the sexual exploitation of children that constituted violations of 18 U.S.C.
§§ 2251, 2252, 2252A, 2422, and 2423, as well as Florida state statutes that criminalize
sexual activity with minors and other methods of child sexual exploitation. In
connection with such investigations, I have served as case agent and have served as an
undercover agent in online child exploitation cases. Specifically, during the course of
my official duties, I have assumed the persona of a minor child or an adult relative of
a minor child and engaged in online conversations with adult individuals who
expressed interest in engaging in illegal sexual activity with minor children. During
the course of my investigations, I have worked closely with members of the local child
exploitation task force comprised of agents and officers from HSI, the Federal Bureau
of Investigation (FBI), the Jacksonville Sheriffs Office (JSO), the St. Johns County
Sheriffs Office (SJSO), and the Clay County Sheriffs Office (CCSO), among other
agencies. These agencies routinely share information involving the characteristics of
child sex offenders as well as investigative techniques and leads. As a federal agent, I
am authorized to investigate and assist in the prosecution of violations of laws of the
United States, and to execute search warrants and arrest warrants issued by federal

and state courts.
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3. The statements contained in this affidavit are based on my personal
knowledge, reports I have reviewed and facts I learned from meeting and
communicating with other law enforcement officers and personnel involved in this
investigation. This affidavit is being submitted for the limited purpose of establishing
probable cause for the filing of a criminal complaint, and I have not included each and
every fact known to me concerning this investigation. I have set forth only the facts
that I believe are necessary to establish probable cause to believe that TRAVIS RYAN
PRITCHARD has committed a violation of 18 U.S.C. § 2422(b), that is, online
enticement of a minor and attempted online enticement of a minor.

4, I make this affidavit in support of a criminal complaint against TRAVIS
RYAN PRITCHARD, that is, during the period from in or about December 2019,
through on or about May 2, 2020, in the Middle District of Florida, PRITCHARD,
using a facility of interstate commerce, that is, by cellular telephone, did knowingly
persuade, induce, entice, and coerce and attempt to persuade,.induce, entice, and
coerce a person who not reached the age of 18 years to engage in sexual activity for
which a person can be charged with a criminal offense under the laws of the state of
Florida, that is, the crime of lewd or lascivious battery upon a person 12 years of age
or older but less than 16 years of age, in violation of Section 800.04(4)(a), Florida

Statutes, all in violation of 18 U.S.C. § 2422(b).
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5. On or about May 4, 2020, I spoke with Green Cove Springs Police
Department (GCSPD) Detective (Det.) Douglas Patterson regarding an ongoing
investigation of: TRAVIS RYAN PRITCHARD for violations of Florida statutes
involving child sexual exploitation. The investigation resulted j in 1 the | issuance of a
Florida state arrest warrant for PRITCHARD and his subsequent arrest by GCSPD
on May 2, 2020.

6. On May 6, 2020, I met with Det. Patterson, as well.as Det. Erin
Vineyard, Lieutenant (Lt.) Elvis Guzman, Sergeant (Sgt.) Tammy Perry, and Chief
Derek Asdot and discussed the details of this investigation. I also was provided reports
authored in the investigation, which I have reviewed. I was advised of, in substance
and among other things, the following: Bo

a. On April 29, 2020, Lt. Hines, Lt. Guzman, and Sgt. Perry responded to
an address in Green Cove Springs, Florida in reference to a complaint
that TRAVIS RYAN PRITCHARD was allegedly having sexual
relations with a 15-year-old juvenile, herein referred to as Minor Victim
1 (MV1). Upon arrival at MV1’s residence, Lt. Hines spoke with MV1’s
mother who subsequently provided information she received about her
daughter having sexual relations with an adult male believed to be a
Deputy Sheriff with the Clay County Sheriff's Office. Sgt. Perry, with the

mother’s permission, subsequently contacted MV1 inside the residence

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and conducted a preliminary interview. During this preliminary
interview, MV1 provided, in substance and among other things, the
following information: : ;

. MV1 advised she met PRITCHARD at the beginning of the current
school year (August 2019) at a convenience store in Green Cove Springs,
Florida, which is in close proximity to MV1’s school. MV1 advised she
would meet a family member at the convenience store after school on a
daily basis. MV1 advised that PRITCHARD would pick up his son from
the same location after school. MV1 advised that at some point, she and
PRITCHARD exchanged contact information via a popular online chat
application, herein referred to as “The Chat Application.” MV1 advised
PRITCHARD told her they could be like “family friends” and he would
help her with her homework when she needed it. MV1 advised that she
and PRITCHARD began communicating through The Chat Application
and, in December 2019, PRITCHARD asked MV1 to send him a nude
picture of herself. MV1 advised that she did not feel. comfortable at first
but, after some time, she sent him a picture of her bare chest via The Chat
Application. MV1 advised she sent PRITCHARD similar photos over a
dozen times. MV1 also advised PRITCHARD sent her nude photos of

his erect penis on approximately ten (10) occasions and also sent her one

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(1) picture of his bare buttocks. MV1 advised she told PRITCHARD she
was fifteen (15) years of age prior to them having sexual intercourse.
MVI advised she thought PRITCHARD was 34 or 35 years old. MV1
advised PRITCHARD told her she could never tell anyone about him
because he could lose his family, his job and get in trouble with the
military. MV1 advised PRITCHARD told her they could never be in a
relationship and for her to never tell him that she loved him because of
her age. MV1 advised that, during December 2019, PRITCHARD came
over to her residence in Green Cove Springs after all the adults at MV1’s
residence were asleep and entered her bedroom through the window.
MV1 advised she and PRITCHARD spoke for a little while before having
sexual intercourse. MV1 advised that sexual encounters between she and
PRITCHARD continued on a weekly basis until April 27, 2020. MV1
advised that, during this time period, PRITCHARD typically arrived at
her residence between the hours of midnight and 2:00am and would stay
for approximately one hour. MV1 advised that during the weekly sexual
encounters with PRITCHARD, he would always enter the home through
her bedroom window. MV1 advised PRITCHARD: never wore any
protection during sexual intercourse and explained to MV1 that he had

had a vasectomy. MV1 advised that PRITCHARD always ejaculated

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inside her vagina and they always had vaginal/ penile sexual intercourse.

MVI1 advised that PRITCHARD performed oral sex on her on multiple
occasions. MV1 advised that the sexual encounters with PRITCHARD
always occurred in her bedroom, on her bed. MV1 showed Sgt. Perry a
Chat Application video time stamped at 2:12am on‘April 27, 2020 that
MV1 took of PRITCHARD while PRITCHARD was in her bedroom.
MV1 also had a still picture of PRITCHARD in her room with the same
time stamp. In the video and image, which I have viewed, PRITCHARD
appears to be sitting on MV1’s bed. I have viewed didditional photographs
of MV1’s room taken by Lt. Hines on April 29, and the background of
the photo and video taken by MV1 match the photogrpahs taken by Lt.
Hines of MV1’s bedroom. In addition, Sgt. Perry: advised she personally
knows PRITCHARD through work and positively identified him as
being a Deputy currently assigned to the DUI unit with the Clay County
Sheriffs Office. MV1 showed Sgt. Perry a photo PRITCHARD posted
using The Chat Application twenty-two (22) hours before this event and
he was wearing his Clay County Sheriffs Office uniform. I have viewed
this photograph as well. While Sgt. Perry was bringing MVI to the police
station to conduct a more in-depth interview, PRITCHARD sent MVla

message via The Chat application. The message, which I have viewed,

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is, according to MV1, a photo represented to be of PRITCHARD’s
bedroom with the message “Good morning” in text across the photo.
MVI1 advised it i is normal for PRITCHARD to. send her a picture when
he wakes up and it appears to be from his bedroom. ‘Set. Penry observed
MVI1’s Chat Application account and it revealed PRITCHARD
messaged MV1 on 63 consecutive days.

7. At this point on the same day, April 29, 2020, the’ mother of MV1
provided written consent to search MV1’s phone and verbal consent to assume MV1’s
Chat Application identity. GCSPD Detective (Det.) Vineyard subsequently took
custody of the phone and obtained Chat Application information from MVI1 and
began messaging with PRITCHARD. Det. Vineyard took a photo of PRITCHARD’s
contact information found within the contacts of MVI1’s phone. The contact was
displayed as “Travis Pritchard.” Det. Vineyard then accessed The Chat Application
and identified PRITCHARD’s username as “trpritch. ” At approximately 5:00pm,
Det. Vineyard, acting in an undercover capacity using the identity of MVI1, began
messaging with PRITCHARD. PRITCHARD sent an image of himself laying in a
bed, which according to MV1 is a typical good morning message from PRITCHARD.
Messaging continued and, at approximately 8:18pm, Det. Vineyard texted, “Hey are
you still able to come over tonight.” At approximately 8:23pm “trpritch” responded

with a message that read, “I’m planning on it, babe.” Det. Vineyard continued to

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message with PRITCHARD throughout that evening, but no pians were made for

PRITCHARD to come to MV1’s house.

8. On April 30, 2020, at approximately 2:51pm, Det. Vineyard received the

following message from PRITCHARD and messaging continued: as. follows:

PRITCHARD:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

-FML I'm so sorry
Good news tho I'm not going to drill this weekend.
it’s ok |
can you come over tonight?
yeah I should be able to make tonight happen. Hell, I slept
for more than 12 hrs. I should be able to stay awake, lol
Ok sounds good to me
-Youknow whattime = i”
Not sure yet. Still out doing stuff
Ok
How did you sleep
I slept too much haha
And prob around midnight or so
Ok sounds good to me
[heart eye Emoji and wink Emoji blowing a heart kiss]

Are you excited about later?
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9, On May 1, 2020 at approximately 12:02am, Det. V. ineyard received the
following response from PRITCHARD to the last message above and messaging
continued as follows:

PRITCHARD: Iam
Det. Vineyard: What time
The following message was received by Det. Vineyard on the “same day at
~ approximately 11:43am: .
PRITCHARD: [Emoji's of the frown face with downward eyebrows and red
angry cuss face]
Det. Vineyard: Yeah
What happened
Good morning
PRITCHARD: Mornin. I have no idea. I was working on my military stuff
on the computer. Trying to finish it up before the end of the
month. And I guess I dozed off. Vdon't even remember
getting up from the desk. Somehow ended up on my office
couch. And I have a horrible migraine this morning
Det. Vineyard: What?
I’m sorry

You still off from drill?

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PRITCHARD:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

‘PRITCHARD:

Det. Vineyard:

I am still off from drill. It’s ok. I feel 50 bad. I get this way
often where I just fall asleep. It's the result of a TBI from
years ago. I was in therapy for it but this virus thing is
keeping me away from the dr :

Is everything ok

I really thought you were coming over.

I really was going to. I have some issues that u don't know
about. Things that make me fall asleep it random times and
give me bad migraines. It’s hard to control even with the
medicine. But trust me when I say I miss u and really want
to spend time with u. I just have little control over when
these episodes happen - :

Well can you come tonight? It’s nice to know you miss me
[blue heart]

I miss you

I miss you too. I’m working tonight but we can meet
somewhere

What do you mean. This is new

‘Where would we meet?

While you’re working. I don’t know

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DAG
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PRITCHARD:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

PRITCHARD:

There are places near ur house. Lol. We can at least get a
quickie in

Where what time? J mean it would make up for last night

[blue heart]

Lol absolutely. Would have to be after the sun went down.
And I'll look around. Most of my good hiding spots are out
of walking range for u _ :

Like how far

I can walk it’s nice out

It’s dangerous where u live tho. I'll go drive around later

_and look

OK

It’s not that bad lmao

Lol ok

{A picture of what appears to be a ‘male wearing gray
patterned boxer brief underwear with a blue waistband].
[Blue heart] I like lol

I can’t wait to see you later | |

[A video of himself in a Clay County Sheriffs Deputy

uniform, with a filter distorting his face and voice. In the

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VAS
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PRITCHARD:

Det. Vineyard:
PRITCHARD:
Det. Vineyard:
PRITCHARD:
Det. Vineyard:

PRITCHARD:
Det. Vineyard:
PRITCHARD:
Det. Vineyard:

PRITCHARD:

video PRITCHARD speaks about a call for service and
shows his law enforcement computer screen with notes
from a call for service. The notes are date and time
stamped].

Same here babe

Lmao!

I slept a little so I’m wide awake for later now

Great. Its going to be a good time

We both need this. |

After the last two nights!! Yes we do. Thought of a better
time or place yet?

As long as it’s a little later like 10 or 11. Tl keep an eye on
gc screen and make sure they are busy. —_

Sounds good

Find any good spots yet

Yeah there are a couple around there : ad

I can walk to it right?

Yeah.

Ok it’s almost 10. You thinking closer to 11?: |

Prob. Shit is going down atm in GC: ©

13

an
Det. Vineyard:
PRITCHARD:
Det. Vineyard:
PRITCHARD:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

PRITCHARD:
Det. Vineyard:

PRITCHARD:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

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| Really what’s going on

[Name redacted] just stuck a gun to someones head

Omg

Tr.

Crazy

Well I' II wait

Still waiting for you to tell me where too

[4 angry cursing Emoji faces]

I'm gonna kill this mfer when 1 find him

Fucking [name redacted] just ran from me again

Really? Ok

Should I go to bed or wait a little while

Just wait a sec

Ok

Sorry

I mean I’m sorry too, just feels like it’s not gonna happen
But I'll wait

I'm not tired or anything |

Okkk [Heart eye Emoji and wink Emoji blowing heart kiss]

Worth the wait

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pF Oe
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PRITCHARD:

Det. Vineyard:

Aweee [5 wink Emojis blowing a heart kiss]

Just let me know

10. On May 2, 2020, at approximately 1: 56am, Det, Vineyard received the

following response from her last message above and 1 messaging ‘continued as follows:

PRITCHARD:

Det. Vineyard:
PRITCHARD:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

PRITCHARD:
Det.- Vineyard:

PRITCHARD:

Det. Vineyard:

Just cleared the jail. I had to arrest someone. I’m sorry baby.
But I just cleared -
It’s ok I’m here
Ok. Can u still sneak out for a lil bit?”
Yes!
Where I'm going.
I'll send u a pin when IJ get there
OK
Whats taking so long? More work stuff
Yeah but Im on Robert's now looking for a place
Ok
Want me to just clean oit my front seat and pick u up and we
go somewhere real fast? So u don't have to walk but
like to the end of the road? -

Towards Idlewild

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Orr
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PRITCHARD:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

Det. Vineyard:

PRITCHARD:

Det. Vineyard:

PRITCHARD:
Det. Vineyard:

PRITCHARD:

Green cove av?

No like to the end of Roberts

I can pick u up there

Oh ok

You ready now

Ok gimme a sec to move my bag

Ok

Which end?

The one closest to ur house

Ok

Ready

I’m here

Ok hang on

K

[An image of a computer. screen showing Green Cove
Springs Police Department asking for a DUI unit].

[Same image as above with “Grrr we gonna have to wait til

Tmrw” followed by three sad face Emojis across the picture]

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PRITCHARD: I'm so fucking angry rn. Well maybe, Thos might not take
long. Now they are sayng they only need: my help with
something. Idk.

Fucking shit. a
I’m so fucking horny mn. I don't have time for this shit
Det. Vineyard: Aw
Ok.
PRITCHARD: Gimme a sec and let me see what they need. I'll let u know.
Det. Vineyard: | Let me know when your done 7 -
PRITCHARD: Ok babe. I'm so sorry
I’ let u know babe [Heart eye Emoji and wink Emoji blowing
heart kiss a

11. While Det. Vineyard was messaging with PRITCHARD above, GCSPD
Det. Carpenter was conducting surveillance in the area of MV1’s residence on the
street where MVI1 lived in Green Cove Springs. When Det. Vineyard received the
message from PRITCHARD advising he was on MVI’s street, Det. Carpenter
observed a Clay County Sheriffs Office patrol vehicle arrive at the location

PRITCHARD conveyed in the message above.
12. Shortly after Det. Vineyard received the message from. PRITCHARD

advising he had arrived, GCSPD Dispatch, as a diversion, contacted the Clay County

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Sheriffs Office and requested DUI enforcement assistance at ‘the GCSPD police
station. TRAVIS RYAN PRITCHARD arrived at GCSPD a short time later and was
subsequently arrested by GCSPD officers. |

13. GCSPD Det. Vineyard, in the presence } of GCSPD Lt. Guzman, advised.
TRAVIS RYAN PRITCHARD of his Miranda rights, ‘and he agreed to be interviewed.
During this interview, PRITCHARD provided, in substance and among other things,
the following information:

PRITCHARD acknowledged knowing MV1.° PRITCHARD acknowledged

being at MV1’s house on a couple of occasions and acknowledged being in

MVI’s bedroom “late at night.”

14. Inaddition, I learned from Det. Vineyard that TRAVIS RYAN
PRITCHARD was wearing gray patterened boxer brief underwear with a blue
waistband at the time of his arrest that appeared to match the underwear in the picture
sent to Det. Vineyard in a message on May 1, 2020. Det. Vineyard provided me with
a picure of PRITCHARD taken by Lt. Guzman after PRITCHARD’s:arrest on May
2, 2020, in which his underwear is made to be partially visible and it appears to match

the underwear sent in the above message.

15. Based upon the foregoing facts, I have probable cause to believe that from

in or about December 2019, through on or about May 2, 2020, in the Middle District

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of Florida, TRAVIS RYAN PRITCHARD, using a facility of interstate commerce,
that is, by cellular telephone and via the internet, did knowingly persuade, induce,
entice, and coerce and attempt to persuade, induce, entice, and coerce a person who
had not reached the age of 18 years, to engage in sexual activity for which a person
can be charged with a criminal offense under the laws of the state of Florida, that is,
the crime of lewd or lascivious battery upon a person 12 years of age or older but less
than 16 years of age, in violation of Section 800.04(4)(a), Florida Statutes, all in

violation of 18 U.S.C. § 2422(b).

 

Benjamin J\ dke, Special Agent
Homeland Security Investigations

Subscribed and sworn to before me this _| {# day of May, 2020,
at Jacksonville, Florida.

 
 

 

. 2 JAMES R-XLINDT
~. “United States: Magistrate Judge

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